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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION

In the matter of:                           )              Chapter 7 Case
KENNETH R. BURROWS                          )
                                            )              Number 19-11513-SDB
                                            )
              Debtor.                       )


                           NOTICE OF POSSIBLE ASSETS AND
                          REQUEST TO SET CLAIMS BAR DATE

          COMES NOW Joseph E. Mitchell, III, the Chapter 7 Trustee duly appointed in

   the above styled case, and reports as follows:

          The Trustee will be pursuing possible assets that may exist in this case. The

   Trustee requests that a claims bar date be set in the above-referenced case and

   notice of the same be sent to all creditors and other parties in interest. If no assets are

   recovered, a Report of No Distribution will be filed.

          Respectfully submitted.


                                                    /s/ Joseph E. Mitchell, III
                                                    Joseph E. Mitchell, III
                                                    Chapter 7 Trustee
                                                    Post Office Box 2504
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                                                    706-826-1808
                                                    Facsimile 706-826-7959
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